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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §           CASE NO.2:11-CR-2(2)-TJW-CE
                                                  §
ERICA NICOLE COOK                                 §

              FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                   BEFORE THE UNITED STATES MAGISTRATE JUDGE

         Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Court for

administration of a plea of guilty and allocution under Rule 11 of the Federal Rules of Criminal

Procedure.

         On April 26, 2011, this cause came before the undersigned United States Magistrate Judge

for a plea of guilty and allocution of the defendant in an indictment charging the defendant in Count

1 with a violation of 18 U.S.C. § 922(g)(1), felon in possession of a firearm. After conducting said

proceeding in the form and manner prescribed by FED . R. CRIM . P. 11, the undersigned finds that:

         a.      the defendant, after consultation with counsel of record, has knowingly and

voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a

United States Magistrate Judge, subject to a final approval and imposition of sentence by the District

Court;

         b.      the defendant and the government have entered into a plea agreement which has been

filed and disclosed in open court pursuant to FED . R. CRIM . P. 11(c)(2);

         c.      the defendant is fully competent and capable of entering an informed plea, that the

defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

of guilty is a knowing and voluntary plea supported by an independent basis in fact containing each
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of the essential elements of the offense; and

       d.         the defendant understands her constitutional and statutory rights and wishes to waive

these rights, including the right to a trial by jury and the right to appear before a United States

District Judge.

       IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

and the Guilty Plea of the defendant and that Erica Nicole Cook should be finally adjudged guilty

of that offense.

       A party’s failure to file written objections to the findings, conclusions and recommendations

contained in this Report within 14 days after being served with a copy shall bar that party from de

novo review by the district judge of those findings, conclusions and recommendations and, except

on grounds of plain error, from appellate review of unobjected-to factual findings and legal

conclusions accepted and adopted by the district court. Fed. R. Civ. P. 72(b)(2); see Douglass v.

United Servs. Auto. Ass’n, 79 F.3d 1415, 1430 (5th Cir. 1996) (en banc).


       SIGNED this 6th day of May, 2011.




                                                        ___________________________________
                                                        CHARLES EVERINGHAM IV
                                                        UNITED STATES MAGISTRATE JUDGE




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